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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

ROBIN BOONE, on behalf of herself                      )
and all others similarly situated,                     )
                                                       )
                Plaintiff,                             )      Cause No.
                                                       )
vs.                                                    )      Division:
                                                       )
PEPSICO, INC.,
Serve: Registered Agent                                )      JURY TRIAL DEMANDED
       C T CORPORATION SYSTEM                          )
       120 South Central Avenue                        )
       Clayton, MO 63105                               )
                                                       )
and                                                    )
                                                       )
THE QUAKER OATS COMPANY,                               )
Serve: Registered Agent                                )
       THE CORPORATION COMPANY                         )
       120 South Central Avenue                        )
       Clayton, MO 63105                               )
                                                       )
                Defendants.                            )

                                 CLASS ACTION COMPLAINT

         COME NOW Plaintiff Robin Boone, on behalf of herself and all others similarly situated,

through her attorneys, and brings this action against Defendants PepsiCo, Inc. and The Quaker

Oats Company (hereinafter referred to as “Defendants” or “Quaker”); and, upon information and

belief, except as to the allegations that pertain to herself, which are based upon personal

knowledge, alleges as follows:

                                  NATURE OF THE ACTION

         1.     Plaintiff brings this action on her own behalf and as a representative of a class of

persons similarly situated who purchased Quaker Products for personal, family, or household

purposes.
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        2.     Defendants develops, manufacturers, markets, distributes, and sells a variety of

personal, family, or household products, including:

    •   Quaker® Chewy Granola Bars Chocolate Chip;
    •   Quaker® Chewy Granola Bars Peanut Butter Chocolate Chip;
    •   Quaker® Chewy Granola Bars Oatmeal Raisin;
    •   Quaker® Chewy Granola Bars Dark Chocolate Chunk;
    •   Quaker® Chewy Granola Bars Chocolate Brownie-Licious;
    •   Quaker® Chewy Dipps Granola Bars Peanut Butter;
    •   Quaker® Chewy Dipps Granola Bars Chocolate Chip;
    •   Quaker® Chewy Dipps Granola Bars Dark Chocolately;
    •   Quaker® 25% Less Sugar Chewy Granola Bars Chocolate Chip;
    •   Quaker® 25% Less Sugar Chewy Granola Bars Cookies and Cream;
    •   Quaker® 25% Less Sugar Chewy Granola Bars Peanut Butter Chocolate Chip;
    •   Quaker® Big Chewy® Granola Bars Chocolate Chip;
    •   Quaker® Big Chewy® Granola Bars Peanut Butter Chocolate Chip

(hereinafter the “Quaker Products” or the “Products”).1

        3.     This action seeks to remedy the unlawful, unfair, deceptive, and misleading

business practices of Defendants with respect to the marketing and sale of its food products,

which are sold throughout the State of Missouri and the United States.

        4.     Defendants market the Products as containing “No Artificial Preservatives.”

        5.     Defendants falsely, misleadingly, and deceptively states on the labeling and

packaging of the Products that they contain “No Artificial Preservatives.” Contrary to these

representations, the Products contain the artificial preservative tocopherols. This labeling

deceives consumers into believing that they are receiving healthier Products that are free of

artificial preservatives, but Defendants’ Products do not live up to these claims.

        6.     Conscious of consumers’ increased interest in more nutritious products free of

artificial additives and willingness to pay more for products perceived to meet this preference,



1
 Plaintiff reserves the right to amend this Complaint to include any additional food items sold by
Quaker that are within the scope of this Complaint.

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Defendants misleadingly, illegally, and deceptively seeks to capitalize on these consumer health

trends.

          7.    Plaintiff purchased the Products in reliance on Defendants’ representations that

these Products contain “No Artificial Preservatives.” She would not have purchased the

Products had she known that they contain artificial preservatives.

          8.    Consumers expect products that are marketed as containing “No Artificial

Preservatives” to not contain any artificial, chemical, and/or synthetic preservatives.

          9.    Plaintiff and the Class reasonably believed Defendants’ false and misleading

representations. Defendants knew or reasonably should have known that its representations

regarding the Products were false, deceptive, misleading, and unlawful under Missouri law.

          10.   Quaker misrepresented, and/or concealed, suppressed, or omitted material facts in

connection with the sale, distribution, and/or advertisement of the Products.

          11.   Plaintiff and the Class Members paid a premium for the Products over comparable

products that did not purport to contain “No Artificial Preservatives.” Given that Plaintiff and

Class Members paid a premium for the Products based on Defendants’ representations that they

contain “No Artificial Preservatives,” Plaintiff and the Class Members suffered an injury in the

amount of the purchase price and/or the premium paid.

          12.   Plaintiff brings claims against Defendants individually and on behalf the Class

Members who purchased the Products during the applicable statute of limitations period (the

“Class Period”) for (1) violation of the Missouri Merchandising Practices Act (“MMPA”), §

407.010 et. seq.; (2) breach of express warranty; (3) breach of implied warranty of

merchantability; (4) unjust enrichment; (5) negligent misrepresentation; and (6) fraud.




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                                             PARTIES

       13.     At all relevant times, Plaintiff Robin Boone was and is a resident of the State of

Missouri. During the Class Period, Plaintiff has purchased Quaker Products for personal, family,

or household use from a Walmart store in St. Louis County. Plaintiff’s purchases include,

without limitation, Quaker Chewy Granola Bars, 3 Flavor Variety Pack – Chocolate Chip,

Peanut Butter Chocolate Chip, Dark Chocolate Chunk. Accordingly, Plaintiff has been injured

as a result of Defendants’ unlawful conduct alleged herein.

       14.     Plaintiff purchased the Quaker Products because she saw the labeling, advertising,

the Defendants’ website, and read the packaging, which represented that the Products contain

“No Artificial Preservatives.” Plaintiff relied on Defendants’ false, misleading, and deceptive

representations that the Products contain “No Artificial Preservatives.” She understood this to

mean that he Products that did not contain any artificial, chemical, and/or synthetic preservatives.

Plaintiff would not have purchased the Products at all, or would have been willing to pay a

substantially reduced price for the Quaker Products, if she had known that they contained

artificial, chemical, and/or synthetic preservatives. Plaintiff would purchase the Products in the

future if Defendants changed the composition of the Products so that they conformed to their

“No Artificial Preservatives” packaging and labeling, or if the packages and labels were

corrected and she could trust that they were correct.

       15.     Defendant PepsiCo, Inc. is a North Carolina corporation whose headquarters is

located at 700 Anderson Hill Road, Purchase, NY 10577. PepsiCo, Inc. is the parent company of

Defendant The Quaker Oats Company. PepsiCo, Inc. conducts business, including advertising,

distributing, and/or selling the Quaker Products, throughout Missouri, including the County of

St. Louis, Missouri and the United States.



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       16.     Defendant The Quaker Oats Company is a food conglomerate that manufactures,

distributes, markets, and sells foods. It is New Jersey corporation in good standing in the State

of Missouri, with its principal place of business and corporate headquarters located at 433 W.

Van Buren Street, Suite 3N, Chicago, Illinois, 60607. The Quaker Oats Company is a subsidiary

of Defendants PepsiCo, Inc. Defendant The Quaker Oats Company conducts business, including

advertising, distributing, and selling the Quaker Products, throughout Missouri, including the

County of St. Louis, Missouri and the United States.

                                 JURISDICTION AND VENUE

       17.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)

because this case is a class action where the aggregate claims of all members of the proposed

Classes are in excess of $5,000,000, exclusive of interests and costs, and Plaintiff, as well as

most members of the proposed Classes, which total more than 100 class members, are citizens of

states different from the state of Defendants.

       18.     This Court has personal jurisdiction over Defendants because Defendants have

sufficient minimum contacts in Missouri or otherwise intentionally did avail themselves of the

markets within Missouri, through their sale of the Product in Missouri and to Missouri

consumers.

       19.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)(1) because

Defendants regularly conduct business throughout this District, and a substantial part of the

events and/or omissions giving rise to this action occurred in this District.




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                                  FACTUAL ALLEGATIONS

                      Defendants’ False and Misleading Representations

       20.     Defendants have misrepresented that the Quaker Products contain “No Artificial

Preservatives” throughout the Class Period.

       21.     Defendants’ marketing materials are replete with statements that the Products

contain “No Artificial Preservatives.”

       22.     Quaker’s website contains numerous statements claiming that the Products

contain “no artificial preservatives.”

       23.     The packaging for the Products misrepresents that the Products contain “No

Artificial Preservatives.” Quaker makes this claim on the packaging of all the Products:




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           24.   The packaging for the Products claims that they contain “No Artificial

Preservatives.” However, each of these representations is false and misleading. Consumers

understand the terms “No Artificial Preservatives” to mean exactly what Defendants says they

mean – that the Products are do not contain any artificial, chemical, and/or synthetic

preservatives. Under this definition, and the expectations of reasonable consumers, the Products

cannot be considered as containing “No Artificial Preservatives” because they contain artificial,

chemical, and/or synthetic preservatives.

           25.   Representing that a product contains “No Artificial Preservatives” is a statement

of fact.

           26.   Consumers reasonably believe that a product labeled as containing “No Artificial

Preservatives” does not contain artificial, chemical, and/or synthetic preservatives.

                     Defendants’ Products Contains Artificial Preservatives

           27.   Defendants’ claims that the Products contain “No Artificial Preservatives” is false

and misleading. The Products contain tocopherols, whose functions as an artificial, chemical,

and/or synthetic preservative has been well-documented. This ingredient functions as a

preservative in the Products. Defendants admits as much.

           28.   The Food and Drug Administration (“FDA”) defines a chemical preservative as

“any chemical that, when added to food, tends to prevent or retard deterioration thereof, but does

not include common salt, sugars, vinegars, spices, oils extracted from spices, substances added to

food by direct exposure thereof to wood smoke, or chemicals applied for their insecticidal or

herbicidal properties.” 21 C.F.R. § 101.22(a)(5).

           29.   The tocopherols have precisely this effect.




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         30.    The MacMillan Dictionary defines “tends” as “to usually do a particular thing,” as

in “He tends to exaggerate” or “The gym tends to get very busy at around six o’clock.”2 The

scientific evidence and FDA statements cited below establish that tocopherols both tend to

prevent or retard the deterioration of food. This remains the case regardless of the subjective

purpose for which this substance is added to the Products.

         31.    Defendants admits on the labels of the Products that the tocopherols are an

ingredient used “to preserve freshness” in the Products.




2
    https://www.macmillandictionary.com/us/dictionary/american/tend

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       32.     Tocopherols do not fall into any of the regulatory exemptions from the definition

of a preservative.

       33.     The FDA expressly classifies tocopherols as preservatives in its Overview of

Food Ingredients, Additives, and Colors, on the FDA’s website:




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Types of           What They Do                   Examples of Uses              Names Found on
Ingredients                                                                     Product Labels

Preservatives      Prevent food spoilage from     Fruit sauces and jellies,     Ascorbic acid, citric acid,
                   bacteria, molds, fungi, or     beverages, baked goods,       sodium benzoate,
                   yeast (antimicrobials); slow   cured meats, oils and         calcium propionate,
                   or prevent changes in color,   margarines, cereals,          sodium erythorbate,
                   flavor, or texture and delay   dressings, snack foods,       sodium nitrite, calcium
                   rancidity (antioxidants);      fruits and vegetable          sorbate, potassium
                   maintain freshness                                           sorbate, BHA, BHT,
                                                                                EDTA, tocopherols
                                                                                (Vitamin E)



https://www.fda.gov/food/food-ingredients-packaging/overview-food-ingredients-additives-colors

                34.    Tocopherols are also listed on the FDA’s regulatory listing of chemical

       preservatives. See 21 CFR § 182.3890 (Subpart D).

                35.    The FDA’s Warning Letter to Wonder Natural Food Corp. dated July 13, 2015

       further confirms that tocopherols are preservatives:

                We note that the label bears the claim "No Preservatives." We note that if any
                ingredients such as tocopherol or sodium ascorbate are being used as
                preservatives, this statement would be false and cause the product to be
                misbranded under 403(a)(l).

       See Exhibit A, Warning Letter dated July 13, 2015.

                36.    Tocopherols do as a matter of fact function as artificial preservatives in the

       Products.

                37.    Given the presence of tocopherols in the Products, Defendants’ representations

       that they contain “No Artificial Preservatives” are false, deceptive, and misleading.

                38.    Defendants’ use of the terms “No Artificial Preservatives” are misleading to a

       reasonable consumer because the reasonable consumer believes that the terms “No Artificial

       Preservatives,” when used to describe a good such as the Products, means that the Products’ do

       not contain any ingredients that are artificial, chemical, and/or synthetic preservatives.

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       39.     Consumers lack the meaningful ability to test or independently ascertain or verify

whether a product contains artificial preservatives, especially at the point of sale. Consumers

would not know the true nature of the ingredients merely by reading the ingredients label.

       40.     Discovering that the ingredient tocopherols is an artificial preservative requires a

scientific investigation and knowledge of chemistry beyond that of the average consumer. That

is why, even though the tocopherols ingredient is identified on the back of the Products’

packaging in the ingredients listed, the reasonable consumer would not understand – nor are they

expected to understand - that the ingredient is an artificial preservative.

       41.     Moreover, the reasonable consumer is not expected or required to scour the

ingredients list on the back of the Products in order to confirm or debunk Defendants’ prominent

claims, representations, and warranties that the Products contain “No Artificial Preservatives.”

       42.     Defendants does not disclose that the tocopherols ingredient is an artificial

preservative. A reasonable consumer understands Defendants’ “No Artificial Preservatives”

claims to mean that the Products contain no artificial, chemical, and/or synthetic preservatives.

       43.     Defendants’ representations are further false, misleading, and deceptive because

they do not represent that all of their Quaker Chewy Granola Bars with the preservative

ingredient tocopherols contain “No Artificial Preservatives.” The packaging of certain flavors of

Quaker Chewy Granola Bars that are not included in Plaintiff’s claims include the ingredient

tocopherols yet do not misrepresent that they contain “No Artificial Preservatives.” For

example:




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       44.     And Defendants admit on the labels of their Quaker Chewy Granola Bars

S’Mores that the tocopherols are an ingredient used “to preserve freshness” in the product.




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       45.     Thus, Defendants do not misrepresent that all of their Quaker Chewy Granola

Bars with the preservative ingredient tocopherols contain “No Artificial Preservatives.”

       46.     Given that Defendants label the Quaker Products as containing “No Artificial

Preservatives” with the preservative tocopherols while not making the exact same representation

on other Quaker Chewy Granola Bar flavors confirms that the tocopherols ingredient in the


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Products at issue are artificial, chemical, and/or synthetic preservatives. And it further confirms

that Defendants’ representations that the Quaker Products contain “No Artificial Preservatives”

are false, deceptive, and misleading.

       47.     Defendant is thus aware that the tocopherols in its Products are artificial,

chemical, and/or synthetic preservatives but chooses to misrepresent as much on the packaging

of the Products.

       48.     Defendants’ representations that the Products contain “No Artificial

Preservatives” induced consumers, including Plaintiff and Class Members, to pay a premium to

purchase the Products. Plaintiff and Class Members relied on Defendants’ false and misleading

misrepresentations in purchasing the Products at some premium price above comparable

alternatives that are not represented as containing “No Artificial Preservatives.” If not for

Defendants’ misrepresentations, Plaintiff and Class Members would not have been willing to

purchase the Products at a premium price. Accordingly, they have suffered an injury as a result

of Defendants’ misrepresentations.

       49.     Defendants knew that consumers will pay more for a product labeled containing

“No Artificial Preservatives” and intended to deceive Plaintiff and putative class members by

labeling the Quaker Products as purportedly products with no artificial, chemical, and/or

synthetic preservatives.

       50.     Defendants have profited enormously from its false and misleading

representations that the Quaker Products contain “No Artificial Preservatives.” The purpose of

this action is to require Quaker to undertake a corrective advertising campaign and to provide

consumers with monetary relief for Quaker’s deceptive and misleading product claims.




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                       Plaintiff’s Claims Are Consistent with Federal Law

       51.      Defendants’ deceptive misrepresentations violated the Federal Food, Drug, and

Cosmetic Act (“FDCA”), which provides that “[a] food shall be deemed misbranded. If its

labeling is false or misleading in any particular.” 21 U.S.C. § 343 (a)(1).

       52.      Plaintiff’s claims are not preempted by the FDCA because the definition of

“preservative” as used herein is consistent with that of the FDA (see above). Moreover, FDA

regulations specifically note that claims like “No Artificial Preservatives” are non-nutritive

claims that are not governed by 21 C.F.R. § 101.13. See 21 C.F.R. § 101.65(b)(2). Since the

FDA has not issued specific standards governing when “No Artificial Preservatives” claims are

either true or false, such representations fall outside the ambit of FDA regulations. Accordingly,

Plaintiff’s claim cannot be preempted.

                               CLASS ACTION ALLEGATIONS

       53.      Plaintiff and Class Members hereby incorporate and re-allege, as though fully set

forth herein, each and every allegation set forth in the preceding paragraphs of this Complaint.

       54.      Plaintiff brings this case as a class action that may be properly maintained under

Federal Rule of Civil Procedure 23 on behalf of the following classes:

             a. Missouri Subclass: All Missouri residents, who within the relevant statute of

                limitations periods, purchased the Products for personal, family, or household use;

             b. Nationwide Class: All persons in the United States, who within the relevant

                statute of limitations periods, purchased the Products (collectively, the “Classes”

                and “Class Members”).

       55.      Excluded from the Classes:




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          i.   Defendants, any entity in which a Defendants has a controlling interest or which

               has a controlling interest in a Defendants, and Defendants’ legal representatives,

               predecessors, successors, assigns, and employees;

         ii.   Counsel and members of the immediate family of counsel for Plaintiff herein; and

        iii.   The judge and staff to whom this case was assigned, and any member of the

               judge’s immediate family;

         iv.   Individuals asserting claims for personal injury; and

         v.    Persons or entities that purchase the Products for sole purposes of resale.

       56.     Plaintiffs reserve the right to revise the class definitions with greater specificity or

division after having an opportunity to conduct discovery.

       57.     Plaintiff is a member of all proposed Classes.

       58.     The proposed Classes meet all requirements for class certification. The members

of the Classes satisfy the numerosity standards. Plaintiff has a good faith belief that there are

tens of thousands of Class Members. Defendants have sold millions of units of the Products. As

a result, joinder of all Class Members in a single action is impracticable. Class Members may be

informed of the pendency of this Class Action by published and broadcast notice.

       59.     Plaintiff’s claims are typical of the other Class Members. Plaintiff and Class

Members purchased the Quaker Products in connection with Defendants’ false, misleading, and

deceptive statements. Plaintiff and Class Members have all sustained damages in that each paid

the purchase price for the Products.

       60.     Plaintiff is an adequate representative of the Classes because she is a member of

the Classes and her interests do not conflict with the interests of the members of the Classes she

seeks to represent. The interests of Class Members will be fairly and adequately protected by



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Plaintiff and their undersigned counsel, who have extensive experience prosecuting complex

class action litigation.

        61.      There is a well-defined community of interest in the questions of law and fact

involved in this case. Common questions of law and/or fact exist as to all Class Members, which

predominate over any questions affecting solely individual Class Members. The questions of

law and fact common to the Classes arising from Quaker’s actions include, without limitation,

the following:

                 a. Whether Defendants misrepresented and/or failed to disclose material facts

                    concerning the Products;

                 b. Whether Defendants’ conduct was unfair and/or deceptive;

                 c. Whether Defendants have been unjustly enriched as a result of the unlawful,

                    fraudulent, and unfair conduct alleged in this Complaint such that it would be

                    inequitable for Defendants to retain the benefits conferred upon them by

                    Plaintiff and the classes;

                 d. Whether Defendants breach warranties to Plaintiff and the Classes;

                 e. Whether Plaintiffs and the Classes have sustained damages with respect to the

                    claims asserted, and if so, the proper measure of their damages; and

                 f. Whether injunctive, declaratory, and/or other equitable relief is warranted.

        62.      These and other questions of law and/or fact are common to the Classes and

predominate over any questions affecting only individual members of the Classes. The

resolution of common questions in this case will resolve the claims of both Plaintiff and the

Classes.




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       63.     A class action is superior, with respect to considerations of consistency, economy,

efficiency, fairness and equity, to other available methods for the fair and efficient adjudication

of this controversy. The prosecution of separate actions by individual Class Members would

impose heavy burdens upon the courts and Defendants, and would create a risk of inconsistent or

varying adjudications of the questions of law and/or fact common to the Class. In addition, the

prosecution of separate actions by individual Class Members would establish incompatible

standards of conduct for any party opposing the Classes. Also, the prosecution of separate

actions by individual Class Members, if fully adjudicated, as a practical matter, would be

dispositive of the interests of the other Class Members not parties to that particular adjudication

and, as such, would substantially impair or impede upon those Class Members abilities to protect

their interests. A class action, on the other hand, would achieve substantial economies of time,

effort and expense, and would assure uniformity of decision as to persons similarly situated

without sacrificing procedural fairness or bringing about other undesirable results.

       64.     The interest of Class Members in individually controlling the prosecution of

separate actions is theoretical rather than practical. The Classes have a high degree of cohesion,

and prosecution of the action through a representative would be unobjectionable. The amounts

at stake for Class Members, while substantial in the aggregate, may not be great enough

individually to enable them to maintain separate suits against Defendants. Plaintiff does not

anticipate any difficulty in the management of this action as a class action.

                                         COUNT I
              Violation of Missouri’s Merchandising Practices Act (“MMPA”)
                                Deception, 15 CSR 60-9.020
                             (As to the Missouri Subclass Only)

       65.     Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.


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       66.     The acts and practices engaged in by Defendants, and described herein, constitute

unlawful, unfair and/or fraudulent business practices in violation of the Missouri Merchandising

Practices Act (“MMPA”), Mo. Rev. Stat. §§ 407.010, et seq.

       67.     Defendants’ actions alleged herein violated, and continue to violate, the MMPA.

       68.     Defendants are a “person” within the meaning of the MMPA, at Missouri Revised

Statutes § 407.010(5).

       69.     The goods purchased from Defendants are “merchandise” within the meaning of

the MMPA, Missouri Revised Statutes § 407.010(4).

       70.     The transactions resulting in purchases of goods from Defendants in Missouri are

a “sale” within the meaning of the MMPA, Missouri Revised Statutes § 407.010(6).

       71.     Defendants engaged in unlawful practices including deception, false promises,

misrepresentation, and/or the concealment, suppression, or omission of material facts in

connection with the sale, distribution or advertisement of the Royal Canin Products in violation

of Mo. Rev. Stat. § 407.020, which states in relevant part as follows:

       407.020. 1. The act, use or employment by any person of any deception, fraud, false
       pretense, false promise, misrepresentation, unfair practice or the concealment,
       suppression, or omission of any material fact in connection with the sale or advertisement
       of any merchandise in trade or commerce ... is declared to be an unlawful practice. ...
       Any act, use or employment declared unlawful by this subsection violates this subsection
       whether committed before, during or after the sale, advertisement or solicitation.

       72.     Plaintiff and Class Members purchased the Quaker Products, products that were

falsely and deceptively represented as containing “No Artificial Preservatives,” as stated above,

in violation of the Missouri Merchandising Practices Act and as a result Plaintiff suffered

economic damages, in that the product she and other Class Members purchased was worth less

than the product they thought they had purchased had Defendants’ representations been true.




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        73.      Defendants’ misrepresentations regarding the Quaker Products are material in that

they relate to matters that are important to consumers and/or are likely to affect the purchasing

decisions or conduct of consumers, including Plaintiff and members of the Class.

        74.      Plaintiff and Class Members purchased the Quaker Products for personal, family,

or household purposes.

        75.      Plaintiff and Class Members reasonably and justifiably relied on Defendants’

misleading and fraudulent representations about the Quaker Products when purchasing them.

        76.      At all times relevant herein, Plaintiff was unaware that the Quaker Products

contained artificial preservatives.

        77.      Defendants’ marketing materials for the Quaker Products do not disclose that the

Products contained artificial preservatives.

        78.      Defendants’ website does not disclose that the Products contained artificial

preservatives.

        79.      Defendants’ labeling for the Quaker Products does not disclose that the Products

contain artificial preservatives.

        80.      Defendants’ packaging for the Quaker Products does not disclose that the

Products contain artificial preservatives.

        81.      Defendants’ representations that the Quaker Products contain “No Artificial

Preservatives” was a violation of the Missouri Merchandising Practices Act, as further stated

herein, and was a material misrepresentation.

        82.      The foregoing acts and practices of Defendants constituted unfair and unlawful

practices, and deceptive conduct, in violation of the Missouri Merchandising Practices Act.




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       83.     As a direct proximate result of the above-described practices, Plaintiff and Class

Members suffered ascertainable loss of money due to the purchasing of the Quaker Products.

       84.     Plaintiff and Class Members have suffered an ascertainable loss caused by

Defendants because they would not have purchased the Quaker Products or would have paid

significantly less for the Products, had they known that Defendants’ conduct was misleading and

fraudulent.

       85.     Appropriate injunctive relief is necessary to prevent Defendants’ MMPA

violations from continuing. If Defendants’ violations of the MMPA are not stopped by such

injunctive relief, Plaintiff and the members of the Class will continue to suffer injury.

       86.     Defendants’ misrepresentations and omissions were material because they were

likely to deceive reasonable consumers.

       87.     As a direct and proximate result of Defendants’ deceptive acts and practices,

Plaintiff and the Missouri Subclass have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including not received

the benefit of their bargain in purchasing the Products.

       88.     Plaintiff and other members of the Missouri Subclass lost money or property as a

result of Defendants’ violations because: (a) they would not have purchased the Products on the

same terms if they knew that the Products were made with artificial preservatives (b) they paid a

substantial price premium compared to other food products due to Defendants’

misrepresentations and deceptions; and (c) the Products do not have the characteristics, uses, or

benefits as promised.




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       89.     Plaintiff and the Missouri Subclass seek all monetary and non-monetary relief

allowed by law, including treble damages, attorneys’ fees and costs, and any additional relief this

Court deems necessary or proper.

       90.     WHEREFORE, Plaintiff and the Class pray for the relief requested in the Prayer

for Relief set forth below in this Complaint.

                                         COUNT II
              Violation of Missouri’s Merchandising Practices Act (“MMPA”)
                            Misrepresentation, 15 CSR 60-9.070
                             (As to the Missouri Subclass Only)

       91.     Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.

       92.     Plaintiff brings this Count individually and on behalf of the members of the

Missouri Subclass.

       93.     “A misrepresentation is an assertion that is not in accord with the facts.” 15 CSR

60-9.070.

       94.     As described further herein, the presence or lack of artificial preservatives in a

product is a fact which may “induce a reasonable consumer to act, respond or change his/her

behavior in any substantial manner.”

       95.     Defendants’ representations that the Products contain “No Artificial

Preservatives” – when the Products contained the artificial preservative tocopherols - is a

violation of the Missouri Merchandising Practices Act, as further stated herein, and was a

material misrepresentation.

       96.     Defendants’ representations that the Products contained “No Artificial

Preservatives” is a material misrepresentation.




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       97.     Defendants’ misrepresentations were material because they were likely to deceive

reasonable consumers.

       98.     Plaintiff purchased the Products for personal, family, or household purposes.

       99.     Plaintiff suffered an ascertainable loss as a result of Defendants’ unlawful conduct

because the actual value of the Products as purchased was less than the value of the Products as

represented. In addition, the Products are legally worthless.

       100.    WHEREFORE, Plaintiff and the Class pray for the relief requested in the Prayer

for Relief set forth below in this Complaint.

                                          COUNT III
               Violation of Missouri’s Merchandising Practices Act (“MMPA”)
               Concealment or Omission of any Material Fact, 15 CSR 60-9.110
                              (As to the Missouri Subclass Only)

       101.    Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.

       102.    Plaintiff brings this Count individually and on behalf of the members of the

Missouri Subclass.

       103.    The MMPA prohibits as an unlawful practice the act, use or employment of the

“concealment, suppression or omission of any material fact” in connection with the sale or

advertisement of any merchandise in trade or commerce. §407.020.1, RSMo.

       104.    A “material fact” is defined as “any fact which a reasonable consumer would

likely consider to be important in making a purchasing decision, or which would be likely to

induce a person to manifest his/her assent, or which the seller knows would be likely to induce a

particular consumer to manifest his/her assent, or which would be likely to induce a reasonable

consumer to act, respond or change his/her behavior in any substantial manner.” 15 CSR 60-

9.010(1)(C).


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       105.       “Concealment of a material fact” is defined as “any method, act, use or practice

which operates to hide or keep material facts from consumers.” 15 CSR 60-9.110(1).

       106.       “Omission of a material fact” is defined as “any failure by a person to disclose

material facts known to him/her, or upon reasonable inquiry would be known to him/her.” 15

CSR 60-9.110(3).

       107.       Defendants’ actions as alleged herein constitute the concealment and omission of

material facts.

       108.       Among other things, Defendants concealed and omitted the material facts that the

Products contain artificial preservatives.

       109.       As described further herein, the representation that a product contains “No

Artificial Preservatives” is a fact which may “induce a reasonable consumer to act, respond or

change his/her behavior in any substantial manner.”

       110.       Defendants’ labeling and packaging for the Products does not disclose that the

Products contain artificial preservatives.

       111.       Defendants’ labeling and packaging for the Products does not disclose which, if

any, ingredients are artificial preservatives.

       112.       As described further herein, the presence or lack of artificial preservatives in a

product is a fact which may “induce a reasonable consumer to act, respond or change his/her

behavior in any substantial manner.”

       113.       Defendants’ failure to disclose the fact that the Products contain artificial

preservatives was a violation of the Missouri Merchandising Practice Act, and was a material

omission.

       114.       Plaintiff purchased the Products for personal, family, or household purposes.



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       115.    Plaintiff suffered an ascertainable loss as a result of Defendants’ unlawful conduct

because the actual value of the Products as purchased was less than the value of the Products as

represented. In addition, the Products are legally worthless.

       116.    WHEREFORE, Plaintiff and the Class pray for the relief requested in the Prayer

for Relief set forth below in this Complaint.

                                          COUNT IV
               Violation of Missouri’s Merchandising Practices Act (“MMPA”)
                                Half-Truths, 15 CSR 60-9.090
                              (As to the Missouri Subclass Only)

       117.    Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.

       118.    Plaintiff brings this Count individually and on behalf of the members of the

Missouri Subclass.

       119.    A half-truth misrepresentation as defined in the MMPA occurs when “any person

in connection with the advertisement or sale of merchandise to omit to state a material fact

necessary in order to make statements made, in light of the circumstances under which they are

made, not misleading.” 15 CSR 60-9.090.

       120.    A “material fact” is defined as “any fact which a reasonable consumer would

likely consider to be important in making a purchasing decision, or which would be likely to

induce a person to manifest his/her assent, or which the seller knows would be likely to induce a

particular consumer to manifest his/her assent, or which would be likely to induce a reasonable

consumer to act, respond or change his/her behavior in any substantial manner.” 15 CSR 60-

9.010(1)(C).




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        121.      “Omission of a material fact” is defined as “any failure by a person to disclose

material facts known to him/her, or upon reasonable inquiry would be known to him/her.” 15

CSR 60-9.110(3).

        122.      Defendants’ actions as alleged herein constitute the concealment and omission of

material facts.

        123.      Among other things, Defendants concealed and omitted the material facts that the

Products were contain artificial preservatives.

        124.      As described further herein, the representation that a product contains “No

Artificial Preservatives” is a fact which may “induce a reasonable consumer to act, respond or

change his/her behavior in any substantial manner.”

        125.      Defendants’ labeling for the Products does not disclose that the Products contain

artificial preservatives.

        126.      Defendants’ labeling for the Products does not disclose which, if any, ingredients

are artificial preservatives.

        127.      As described further herein, the presence or lack of artificial preservatives in a

product is a fact which may “induce a reasonable consumer to act, respond or change his/her

behavior in any substantial manner.”

        128.      Defendants’ failure to disclose certain the presence of the artificial preservatives,

such as tocopherols, was a violation of the Missouri Merchandising Practices Act, as further

stated herein, and was a material omission.

        129.      Defendants’ failure to disclose the fact that the Products contain artificial

preservatives was a violation of the Missouri Merchandising Practice Act, and was a material

omission.



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        130.    Plaintiff purchased the Products for personal, family, or household purposes.

        131.    Plaintiff suffered an ascertainable loss as a result of Defendants’ unlawful conduct

because the actual value of the Products as purchased was less than the value of the Products as

represented. In addition, the Products are legally worthless.

        132.    WHEREFORE, Plaintiff and the Class pray for the relief requested in the Prayer

for Relief set forth below in this Complaint.

                                           COUNT V
                                   Breach of Express Warranty
                                       (As to the Classes)

        133.    Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.

        134.    Plaintiff brings this Count individually and on behalf of the members of the

proposed Classes against the Defendants.

        135.    Defendants, as the designer, manufacturer, marketer, distributor, and/or seller,

expressly warranted and represented that the Products contain “No Artificial Preservatives.”

        136.    Defendants provided the Plaintiff and Class Members with an express warranty in

the form of written affirmations of fact promising and representing that the Products contain no

artificial preservatives.

        137.    The above affirmations of fact were not couched as “belief” or “opinion,” and

were not “generalized statements of quality not capable of proof or disproof.”

        138.    Defendants’ express warranties, and its affirmations of fact and promises made to

Plaintiff and Class Members regarding the Products, became part of the basis of the bargain

between Defendants and Plaintiff and the Classes, thereby creating an express warranty that the




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Products would conform to those affirmations of fact, representations, promises, and

descriptions.

        139.    The Products do not conform to the express warranty because they contain

artificial preservatives.

        140.    Defendants was provided notice of these issues by numerous public complaints

and inquiries concerning its use of artificial preservatives in its products.

        141.    Additionally, prior to the filing of this Complaint, Plaintiff timely notified

Defendants of these breaches by letters sent via United States Postal Service Priority Mail on

September 14, 2021. The letters were received by Defendants on September 16, 2021 and

September 20, 2021.

        142.    Defendants have had a reasonable opportunity to cure its breach of written

warranties and any additional opportunity to cure would be unnecessary and futile.

        143.    As a direct and proximate cause of Defendants’ breach of express warranty,

Plaintiff and members of the Classes have been injured and harmed because: (a) they would not

have purchased the Products on the same terms if they knew the truth about the Products’

artificial preservatives; (b) they paid a substantial price premium based on Defendants’ express

warranties; and (c) the Products do not have the characteristics, uses, or benefits as promised.

        144.    WHEREFORE, Plaintiff and the Class pray for the relief requested in the Prayer

for Relief set forth below in this Complaint.

                                              COUNT V
                            Breach of Implied Warranty of Merchantability
                                          (As to the Classes)

        145.    Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.



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       146.    Plaintiff brings this Count individually and on behalf of the members of the

proposed Classes against the Defendants.

       147.    Defendants are a merchant with respect to the sale of foods including the Quaker

Products. the designer, manufacturer, marketer, distributor, and/or seller of the Products.

Therefore, a warranty of merchantability is implied in every contract for sale of the Products to

Plaintiff and other consumers.

       148.    In representing on the Products that the Products contain “No Artificial

Preservatives,” Defendants have provided a promise or affirmation of fact to Plaintiff and other

consumers.

       149.    However, the Products dos not conform to the promises or affirmations of fact, as

the Products do contain artificial, chemical, and/or synthetic preservatives.

       150.    Therefore, Defendants have breached its implied warranty of merchantability in

regard to the Products.

       151.    If the Plaintiff and members of the Classes had known that the Products do not

conform to Defendants’ promises or affirmations of fact, they would not have purchased the

Product or would not have been willing to pay the premium price associated with Product.

Therefore, as a direct and/or indirect result of Defendants’ breach, Plaintiff and members of the

Classes have suffered injury and deserve to recover all damages afforded under the law.

                                          COUNT VI
                                       Unjust Enrichment
                                       (As to the Classes)

       152.    Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.




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       153.    Plaintiff brings this Count individually and on behalf of the members of the

proposed Classes against the Defendants.

       154.    At all times relevant hereto, Defendants deceptively marketed, advertised, and

sold merchandise to Plaintiff and the Classes.

       155.    Plaintiff and members of the Classes conferred upon Defendants nongratuitous

payments for the Products that they would not have if not for Defendants’ deceptive advertising

and marketing. Defendants accepted or retained the nongratuitous benefits conferred by Plaintiff

and members of the Classes, with full knowledge and awareness that, as a result of Defendants’

deception, Plaintiff and members of the Classes were not receiving a product of the quality,

nature, fitness, or value that had been represented by Defendants and reasonable consumers

would have expected.

       156.    Defendants have been unjustly enriched in retaining the revenues derived from

Plaintiff’s and Class Members’ purchases of the Products. Retention of those monies under

these circumstances is unjust and inequitable because of Defendants’ misrepresentations about

the Products, which caused injuries to Plaintiff and Class Members because they would not have

purchased the Products if the true facts had been known.

       157.    Because Defendants’ retention of the non-gratuitous benefits conferred on it by

Plaintiff and members of the Classes is unjust and inequitable, Defendants must pay restitution to

Plaintiff and members of the Classes for their unjust enrichment, as ordered by the Court.

                                            COUNT VI
                                    Negligent Misrepresentation
                                         (As to the Classes)

       158.    Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.



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       159.    Plaintiff brings this Count individually and on behalf of the members of the

proposed Classes against the Defendants.

       160.    Defendants have marketed the Quaker Products in a manner indicating that the

Products contain “No Artificial Preservatives.” However, the Products do contain the artificial

preservative tocopherols. Therefore, Defendants have made misrepresentations as to the

Products.

       161.    Defendants’ representations regarding the Products are material to a reasonable

consumer because they relate to the composition of the Products purchased by consumers. A

reasonable consumer would attach importance to such representations and would be induced to

act thereon in making purchase decisions.

       162.    At all relevant times when such misrepresentations were made, Defendants knew

or have been negligent in not knowing that the representations were false and misleading.

Defendants had no reasonable grounds for believing its representations were not false and

misleading.

       163.    Defendants intends that Plaintiff and other consumers rely on the representations

made about the Products, as the representations are made prominently on the Products, and are

reinforced throughout Defendants’ marketing and advertising campaigns.

       164.    Plaintiff and members of the Classes have reasonably and justifiably relied on

Defendants’ negligent misrepresentation when purchasing the Products, and had the correct facts

been known, would not have purchased the Products or would not have purchased it at the prices

at which they were offered.

       165.    Therefore, as a direct and proximate result of Defendants’ negligent

misrepresentations, Plaintiff and members of the Classes have suffered economic losses and



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other general and specific damages, including but not limited to the amounts paid for the

Products, and any interest that would have accrued on those monies, all in an amount to be

proven at trial.

                                               COUNT VII
                                                   Fraud
                                             (As to the Classes)

        166.       Plaintiff hereby incorporates and re-alleges, as though fully set forth herein, each

and every allegation set forth in the preceding paragraphs of this Complaint.

        167.       Plaintiff brings this Count individually and on behalf of the members of the

proposed Classes against the Defendants.

        168.       As discussed above, Defendants have willfully, falsely, and knowingly provided

Plaintiff and Class members with false or misleading material information about the Products

and failed to disclose material facts about the Products, including but not limited to the fact that

the Products contain the artificial preservative tocopherols. Despite this, Defendants continues

to intentionally represent that the Products contain “No Artificial Preservatives.” Therefore,

Defendants have made, and continue to make, misrepresentations as to the Products.

        169.       The misrepresentations and omissions made by Defendants, upon which Plaintiff

and Class members reasonably and justifiably relied, were intended to induce and actually

induced Plaintiffs and Class members to purchase the Products.

        170.       Defendants’ misrepresentations are material (i.e., the type of misrepresentations to

which a reasonable person would attach importance and would be induced to act thereon in

making purchase decisions), because they relate to the composition of the Products.

        171.       Defendants knew or recklessly disregarded the fact that the Products contain

artificial preservatives.



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       172.    Defendants intend that consumers rely on these representations, as the

representations are made prominently on the Product, and are reinforced throughout Defendants’

marketing and advertising campaign.

       173.    Plaintiff and members of the Classes have reasonably and justifiably relied on

Defendants’ misrepresentations when purchasing the Products and had the correct facts been

known, would not have purchased the Products or would not have purchased it at the prices at

which it was offered.

       174.    Therefore, as a direct and proximate result of Defendants’ fraudulent actions,

Plaintiff and members of the Classes have suffered economic losses and other general and

specific damages, including but not limited to the amounts paid for the Products, and any interest

that would have accrued on those monies, all in an amount to be proven at trial.

                                    PRAYER FOR RELIEF

       175.    WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, seeks judgment against Defendants, as follows:

       a.      For an order certifying the nationwide Class and the Missouri Subclass under

               Rule 23 of the Federal Rules of Civil Procedure; naming Plaintiff as Class and

               Missouri Subclass representative; and naming Plaintiff’s attorneys as Class

               Counsel to represent the Class and Missouri Subclass members;

       b.      For an order declaring the Defendants’ conduct violates the statutes and laws

               referenced herein;

       c.      For an order finding in favor of Plaintiff, the nationwide Class, and the Missouri

               Subclass on all counts asserted herein;

       d.      For an order awarding, as appropriate, compensatory and monetary damages,

               restitution or disgorgement to Plaintiff and the Classes for all causes of action;

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      e.    For an order requiring Defendants to immediately cease and desist from selling its

            misbranded Products in violation of law; enjoining Defendants from continuing to

            label, market, advertise, distribute, and sell the Products in the unlawful manner

            described herein; and order Defendants to engage in corrective action;

      f.    For an order requiring Defendants to undertake a corrective advertising campaign;

      g.    For prejudgment and postjudgment interest on all amounts awarded;

      h.    For injunctive relief as pleaded or as the Court may deem proper; and

      i.    For an order awarding Plaintiff and the Class and Missouri Subclass their

            reasonable attorneys’ fees and expenses and costs of suit.

                                      JURY DEMAND

   176.     Plaintiff demands a trial by jury on all issues so triable.

Dated: 1/27/2022


                                                    Respectfully submitted,

                                                    ORLOWSKY LAW, LLC


                                                    /s/ Daniel J. Orlowsky_____________
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